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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JASMINE BUDZYN,                                    )
                                                   )
                       Plaintiff,                  )
                                                   )
       v.                                          )
                                                   )
KFC CORPORATION, KFC, FQSR, LLC,                   )
KBP FOODS, LLC, JAMES JOHNSON JR.                  )              Case No. 21 CV 04152
INDIVIDUALLY And as agent and/or                   )
employee of KFC CORPORATION, KFC,                  )
FQSR, LLC, and/or KBP FOODS, LLC                   )
                                                   )
                                                   )
                                                   )
                       Defendants.                 )

                          FIRST AMENDED COMPLAINT AT LAW

       NOW COMES the Plaintiff, JASMINE BUDZYN, by and through her Attorneys, LEVIN,

RIBACK, & ADELMAN P.C., and complains of the Defendants, KFC CORPORATION, KFC,

FQSR, LLC, KBP FOODS, LLC, and JAMES JOHNSON JR. individually and as agent or

employee of KFC CORPORATION, FQSR, LLC, and/or KBP FOODS, LLC, and in support of

her First Amended Complaint at Law, respectfully alleges as follows:

                                          PARTIES

       1.      At all times herein mentioned, the Plaintiff, JASMINE BUDZYN, was and is a

resident of the United States and was a resident of Romeoville, Illinois which is located in the

Northern District of Illinois.

       2.      Plaintiff, JASMINE BUDZYN, was a member of a protected class under Title VII

of the Civil Rights Act 1964, as amended in 1991, 42 USC 2000E et. seq. when the unlawful
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employment practices occurred. She was a resident of Will County, Illinois which is located in the

Northern District of Illinois.

       3.      On all relevant dates and times, KFC CORPORATION was the owner, franchisor,

operator, controller and/or manager of a Kentucky Fried Chicken fast food restaurant located at

442 Weber Rd., Romeoville, Illinois, 60446.

       4.      KFC CORPORATION had its principal place of business, its corporate offices and

was domiciled and located at 1441 Gardiner Lane, Louisville, Kentucky.

       5.      On all relevant dates and times, KFC was the owner, franchisor, operator, controller

and/or manager of a Kentucky Fried Chicken fast food restaurant located at 442 Weber Rd.,

Romeoville, Illinois, 60446.

       6.      KFC had its principal place of business, its corporate offices and was domiciled

and located at 1441 Gardiner Lane, Louisville, Kentucky.

       7.      On all relevant dates and times, FQSR, LLC was the owner, franchisee, operator,

controller and/or manager of a Kentucky Fried Chicken fast food restaurant located at 442 Weber

Rd., Romeoville, Illinois, 60446.

       8.      FQSR, LLC had its principal place of business, its corporate offices and was

domiciled and located at 8900 Indian Creek Parkway, Overland Park, Kansas.

       9.      On all relevant dates and times, KBP FOODS, LLC was the owner, franchisee,

operator, controller and/or manager of a Kentucky Fried Chicken fast food restaurant located at

442 Weber Rd., Romeoville, Illinois, 60446.

       10.     KBP FOODS, LLC had its principal place of business, its corporate offices and was

domiciled and located at 10950 Grandview Drive, Overland Park, Kansas.
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        11.    Upon information and belief, as of October-November 2019, the Defendant,

JAMES JOHNSON JR., was employed by the Defendant, KFC CORPORATION, as a manager

at its fast-food restaurant named Kentucky Fried Chicken located at 116 Larkin Road in Joliet,

Illinois.

        12.    Upon information and belief, at some time prior to the incidents alleged in this

matter, the Defendant, JAMES JOHNSON JR., was employed by the Defendant, KFC

CORPORATION, and was transferred to work as a manager at its fast-food restaurant located at

442 Weber Rd., Romeoville, Illinois, 60446.

        13.    Upon information and belief, as of October-November 2019, the Defendant,

JAMES JOHNSON JR., was employed by the Defendant, KFC, as a manager at its fast-food

restaurant named Kentucky Fried Chicken located at 116 Larkin Road in Joliet, Illinois.

        14.    Upon information and belief, at some time prior to the incidents alleged in this

matter, the Defendant, JAMES JOHNSON JR., was employed by the Defendant, KFC, and was

transferred to work as a manager at its fast-food restaurant located at 442 Weber Rd., Romeoville,

Illinois, 60446.

        15.    Upon information and belief, as of October-November 2019, the Defendant,

JAMES JOHNSON JR., was employed by the Defendant, FQSR, LLC, as a manager at its fast-

food restaurant named Kentucky Fried Chicken located at 116 Larkin Road in Joliet, Illinois.

        16.    Upon information and belief, at some time prior to the incidents alleged in this

matter, the Defendant JAMES JOHNSON JR., remained employed by Defendant, FQSR, LLC,

and was transferred to work as a manager at its fast-food restaurant located at 442 Weber Rd.,

Romeoville, Illinois, 60446.
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       17.    Upon information and belief, as of October-November 2019, the Defendant,

JAMES JOHNSON JR., was employed by the Defendant, KBP FOODS, LLC, as a manager at its

fast-food restaurant named Kentucky Fried Chicken located at 116 Larkin Road in Joliet, Illinois.

       18.    Upon information and belief, at some time prior to the incidents alleged in this

matter, the Defendant, JAMES JOHNSON JR., remained employed by the Defendant, KBP

FOODS, LLC, and was transferred to work as a manager at its fast-food restaurant located at 442

Weber Rd., Romeoville, Illinois, 60446.

       19.     At all times relevant hereto, the Defendants, KFC CORPORATION, KFC, FQSR,

LLC, KBP FOODS, LLC, were doing business as Kentucky Fried Chicken located at 442 N.

Weber Rd., Romeoville, Will County, as joint employers of the Plaintiff, JASMINE BUDZYN,

and the Co-Defendant JAMES JOHNSON, JR.

       20.    At all times herein mentioned, JASMINE BUDZYN was employed, managed,

supervised, controlled, and instructed by the Defendants, KFC CORPORATION, KFC, FQSR,

LLC, KBP FOODS, LLC, at their restaurant located at 442 N. Weber Road, Romeoville, Illinois

and Plaintiff, JASMINE BUDZYN, was an “employee” as that term is defined by the Civil Rights

Act of 1964, as amended in 1991, 42 U.S.C. Section 2000e(b).

       21.    At all times herein mentioned, the Defendants, KFC CORPORATION, KFC,

FQSR, LLC, KBP FOODS, LLC, were jointly responsible for overseeing, supervising, and

regulating all conduct engaged in by Defendant, JAMES JOHNSON JR., while he was a manager

at the restaurant location and while he was engaged in activities within the scope of his

employment.

       22.    At all times herein mentioned, the Defendant, JAMES JOHNSON JR., individually

and as agent for KFC CORPORATION and KFC, was a manager at the Kentucky Fried Chicken
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located at 442 N. Weber Road, Romeoville, Illinois and owed a duty to the Plaintiff, JASMINE

BUDZYN, who was an “employee” as that term is defined by the Civil Rights Act of 1964, as

amended in 1991, 42 U.S.C. Section 2000e(b).

       23.     At all times herein mentioned, the Defendant, JAMES JOHNSON JR., individually

and as agent for FQSR, LLC, was a manager at the Kentucky Fried Chicken located at 442 N.

Weber Road, Romeoville, Illinois and owed a duty to the Plaintiff, JASMINE BUDZYN, who was

an “employee” as that term is defined by the Civil Rights Act of 1964, as amended in 1991, 42

U.S.C. Section 2000e(b).

       24.     At all times herein mentioned, the Defendant, JAMES JOHNSON JR., individually

and as agent for KBP FOODS, LLC, was a manager at the Kentucky Fried Chicken located at 442

N. Weber Road, Romeoville, Illinois and owed a duty to the Plaintiff, JASMINE BUDZYN, who

was an “employee” as that term is defined by the Civil Rights Act of 1964, as amended in 1991,

42 U.S.C. Section 2000e(b).

                                         JURISDICTION
       25.     This is a suit in equity authorized and instituted pursuant to the Civil Rights Act of

1964, as amended in 1991, 42 U.S.C. § 2000e(b). Jurisdiction of this court is based upon a federal

question, 28 U.S.C. § 1331. The jurisdiction of this court is invoked to secure protection of and to

address deprivation of rights secured by 42 U.S.C. § 2000e(b) providing for declaratory,

injunctive, and other relief against employment discrimination based upon sex, and pursuant to 29

U.S.C. §201 et. seq.

       26.     Venue is proper under 28 U.S.C. § 1391 (B). Some of the Defendants reside or

resided and/or did continuous business in this district and the events giving rise to the Plaintiff’s

claims occurred here.
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         27.    All conditions precedent to jurisdiction have occurred or been complied with, to-

wit:

                a. The Plaintiff filed a charge of discrimination, Charge No. 440-2020-
                   05242. Said charge was filed with the Equal Employment Opportunity
                   Commission, (“EEOC”) on June 16, 2020. (See Exhibit 1).
                b. The Plaintiff was issued a notice of right to sue for Charge No. 440-
                   2020-05242 by the EEOC on May 18, 2021. (See Exhibit 2).

         28.    Venue is proper pursuant to 28 U.S.C. § 1367 (a) Supplemental Jurisdiction as the

Court which holds: Except as provided in subsections (b) and (c) or as expressly provided

otherwise by Federal statute, in any civil action of which the district courts have original

jurisdiction, the district courts shall have supplemental jurisdiction over all other claims that are

so related to claims in the action within such original jurisdiction that they form part of the same

case or controversy under Article III of the United States Constitution. Such supplemental

jurisdiction shall include claims that involve the joinder or intervention of additional parties.

                                  FACTUAL ALLEGATIONS

         29.    The Plaintiff, JASMINE BUDZYN, began working for KFC CORPORATION and

KFC, as a server at the register and a washer in September of 2019 at the Kentucky Fried Chicken

located at 442 N. Weber Road in Romeoville, Illinois. At the time that she was hired she was 17

years old and a minor.

         30.    The Plaintiff, JASMINE BUDZYN, began working for FQSR, LLC, as a server at

the register and as a dishwasher in September of 2019 at the Kentucky Fried Chicken located at

442 N. Weber Road in Romeoville, Illinois. At the time that she was hired she was 17 years old

and a minor.

         31.    The Plaintiff, JASMINE BUDZYN, began working for KBP FOODS, LLC as a

server at the register and as a dishwasher in September of 2019 at the Kentucky Fried Chicken
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located at 442 N. Weber Road in Romeoville, Illinois. At the time that she was hired she was 17

years old and a minor.

       32.     In October of 2019, JASMINE BUDZYN was working for the Defendants, KFC

CORPORATION and KFC, and was in the course and scope of her duties and responsibilities of

selling food for these Defendants at the Kentucky Fried Chicken at 442 Weber Rd., Romeoville,

Illinois, 60446.

       33.     In October of 2019, JASMINE BUDZYN was working for the Defendant, FQSR,

LLC, and was in the course and scope of her duties and responsibilities of selling food for this

Defendant at the Kentucky Fried Chicken at 442 Weber Rd., Romeoville, Illinois, 60446.

       34.     In October of 2019, JASMINE BUDZYN was working for the Defendant, KBP

FOODS, LLC, and was in the course and scope of her duties and responsibilities of selling food

for this Defendant at the Kentucky Fried Chicken at 442 Weber Rd., Romeoville, Illinois, 60446.

       35.     Shortly after the Plaintiff began working for at the KFC in Romeoville in October

of 2019, JASMINE BUDZYN was assigned to work with the Defendant, JAMES JOHNSON JR.,

who was a manager at the restaurant.

       36.     On various dates in October and November of 2019, the Defendant, JAMES

JOHNSON JR., while working as a manager and agent of the Defendants, KFC CORPORATION

and KFC, touched the breasts, attempted to kiss on the mouth, and pulled the hair of the Plaintiff,

JASMINE BUDYZN. These acts were all done without the Plaintiff’s permission and were over

her objection as they were unwelcomed and unwanted.

       37.     On various dates in October and November of 2019, the Defendant, JAMES

JOHNSON JR., while working as a manager and agent of the Defendant, FQSR, LLC, touched the

breasts, attempted to kiss on the mouth, and pulled the hair of the Plaintiff, JASMINE BUDYZN.
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These acts were all done without the Plaintiff’s permission and were over her objection as they

were unwelcomed and unwanted.

       38.     On various dates in October and November of 2019, the Defendant, JAMES

JOHNSON JR., while working as a manager and agent of the Defendant, KBP FOODS, LLC,

touched the breasts, attempted to kiss on the mouth, and pulled the hair of the Plaintiff, JASMINE

BUDYZN. These acts were all done without the Plaintiff’s permission and were over her objection

as they were unwelcomed and unwanted.

       39.     On a separate unknown date in either October, November, or December of 2019,

the Defendant, JAMES JOHNSON JR., while working as a manager and as the duly authorized

agent of the Defendants, KFC CORPORATION and KFC, said to the Plaintiff over the intercom

system used by employees to communicate, “I want to bend you over and spank you!” These

comments were particularly embarrassing and harassing to the Plaintiff and were all done without

the Plaintiff’s permission and were over her objection as they were unwelcomed and unwanted.

       40.     On a separate unknown date in either October, November, or December of 2019,

the Defendant, JAMES JOHNSON JR., while working as a manager and as the duly authorized

agent of the Defendant, FQSR, LLC, said to the Plaintiff over the intercom system used by

employees to communicate, “I want to bend you over and spank you!” These comments were

particularly embarrassing and harassing to the Plaintiff and were all done without the Plaintiff’s

permission and were over her objection as they were unwelcomed and unwanted.

       41.     On a separate unknown date in either October, November, or December of 2019,

the Defendant, JAMES JOHNSON JR., while working as a manager and as the duly authorized

agent of the Defendant, KBP FOODS, LLC, said to the Plaintiff over the intercom system used by

employees to communicate, “I want to bend you over and spank you!” These comments were
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particularly embarrassing and harassing to the Plaintiff and were all done without the Plaintiff’s

permission and were over her objection as they were unwelcomed and unwanted.

       42.     On a separate unknown date in either October, November or December of 2019,

the Defendant, JAMES JOHNSON JR., while working as a manager and as the duly authorized

agent of the Defendants, KFC CORPORATION and KFC, said to the Plaintiff, “You are a spicy

taco.” These comments were particularly embarrassing and harassing to the Plaintiff and were all

done without the Plaintiff’s permission and were over her objection as they were unwelcomed and

unwanted.

       43.     On a separate unknown date in either October, November, or December of 2019,

the Defendant, JAMES JOHNSON JR., while working as a manager and as the duly authorized

agent of the Defendant, FQSR, LLC said to the Plaintiff, “You are a spicy taco.” These comments

were particularly embarrassing and harassing to the Plaintiff and were all done without the

Plaintiff’s permission and were over her objection as they were unwelcomed and unwanted.

       44.     On a separate unknown date in either October, November, or December of 2019,

the Defendant, JAMES JOHNSON JR., while working as a manager and as the duly authorized

agent of the Defendant, KBP FOODS, LLC, said to the Plaintiff, “You are a spicy taco.” These

comments were particularly embarrassing and harassing to the Plaintiff and were all done without

the Plaintiff’s permission and were over her objection as they were unwelcomed and unwanted.

       45.     Upon information and belief, on a separate unknown date in October, November,

or December of 2019, the Defendant, JAMES JOHNSON JR., while working as a manager and

duly authorized agent and in the scope of his employment accessed the Plaintiff’s personnel

records that were maintained, controlled, and protected by the Defendants in order to obtain the

Plaintiff, JASMINE BUDZYN’s, personal information.
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       46.    On numerous unspecified occasions between November and December of 2019,

the Defendant, JAMES JOHNSON JR., telephoned the Plaintiff, JASMINE BUDZYN, on her

personal cell phone and made harassing, disparaging, and sexually lewd comments to her. These

comments were particularly embarrassing and harassing to the Plaintiff and were all done without

the Plaintiff’s permission and were over her objection as they were unwelcomed and unwanted.

       47.    On numerous unspecified occasions between November and December of 2019,

the Defendant JAMES JOHNSON JR., contacted the Plaintiff, JASMINE BUDZYN, via social

media and made harassing, disparaging, and sexually lewd comments to her. These comments

were particularly embarrassing and harassing to the Plaintiff and were all done without the

Plaintiff’s permission and were over her objection as they were unwelcomed and unwanted.

       48.    On multiple occasions, the Plaintiff, JASMINE BUDZYN, informed supervisory

personnel of the Defendants, KFC CORPORATION and KFC, specifically, Ms. Tiffany Ollie, the

restaurant manager and agent of the Defendants, KFC CORPORATION and KFC, that JAMES

JOHNSON JR. had improperly touched her breasts, attempted to kiss her, pulled her hair, and that

he had made sexually lewd comments to her.

       49.    On multiple occasions, the Plaintiff, JASMINE BUDZYN, informed supervisory

personnel of the Defendant, FQSR, LLC, specifically, Ms. Tiffany Ollie, the restaurant manager

and agent of the Defendant, FQSR, LLC, that JAMES JOHNSON JR. had improperly touched her

breasts, attempted to kiss her, pulled her hair, and that he had made sexually lewd comments to

her.

       50.    On multiple occasions, the Plaintiff, JASMINE BUDZYN, informed supervisory

personnel of the Defendant, KBP FOODS, LLC, specifically, Ms. Tiffany Ollie, the restaurant

manager and agent of the Defendant, KBP FOODS, LLC, that JAMES JOHNSON JR. had
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improperly touched her breasts, attempted to kiss her, pulled her hair, and that he had made

sexually lewd comments to her.

       51.     On multiple occasions, the Plaintiff, JASMINE BUDZYN, informed supervisory

personnel of the Defendants, specifically, Ms. Tiffany Ollie, the restaurant manager and agent of

the Defendants of the physical harassment and the verbal harassment of her co-employee and

manager JAMES JOHNSON JR.

       52.     On multiple occasions, the Plaintiff, JASMINE BUDZYN, contacted supervisory

personnel of the Defendants, specifically, Ms. Tiffany Ollie, the restaurant manager and agent of

the Defendants and requested that her supervisor, Tiffany Ollie, schedule co-Defendant JAMES

JOHNSON JR., on a different shift to avoid any further physical and verbal harassment that was

unwanted and unwelcomed.

       53.     On unspecified dates, in October, November, and/or December of 2019, Ms.

Tiffany Ollie, the restaurant manager in the scope of her employment assured the Plaintiff,

JASMINE BUDZYN, that she would not schedule the Defendant, JAMES JOHNSON JR., on the

same work shifts as her at the Kentucky Fried Chicken located at 442 N. Weber Road in

Romeoville, Illinois.

       54.     Despite JASMINE BUDZYN’S clear complaints and requests, Ms. Tiffany Ollie,

the restaurant manager in the scope of her employment, continued to schedule the Defendant,

JAMES JOHNSON JR., on the same shifts as the Plaintiff at the Kentucky Fried Chicken located

at 442 N. Weber Road in Romeoville, Illinois.

       55.     At all relevant dates and times, co-workers, managers and supervisors, had notice

of the conduct of the Defendant, JAMES JOHNSON JR., individually and as agent for KFC

CORPORATION and KFC, while he was a manager at the Kentucky Fried Chicken located at 442
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N. Weber Road, Romeoville, Illinois and owed a duty to the Plaintiff, JASMINE BUDZYN, who

was an “employee” as that term is defined by the Civil Rights Act of 1964, as amended in 1991,

42 U.S.C. Section 2000e(b).

       56.     At all relevant dates and times, co-workers, managers and supervisors, had notice

of the conduct of the Defendant, JAMES JOHNSON JR., individually and as agent for FQSR,

LLC, while he was a manager at the Kentucky Fried Chicken located at 442 N. Weber Road,

Romeoville, Illinois and owed a duty to the Plaintiff, JASMINE BUDZYN, who was an

“employee” as that term is defined by the Civil Rights Act of 1964, as amended in 1991, 42 U.S.C.

Section 2000e(b).

       57.     At all relevant dates and times, co-workers, managers and supervisors, had notice

of the conduct of the Defendant, JAMES JOHNSON JR., individually and as agent for KBP

FOODS, LLC, while he was a manager at the Kentucky Fried Chicken located at 442 N. Weber

Road, Romeoville, Illinois and owed a duty to the Plaintiff, JASMINE BUDZYN, who was an

“employee” as that term is defined by the Civil Rights Act of 1964, as amended in 1991, 42 U.S.C.

Section 2000e(b).

       58.     On December 28, 2019, the Plaintiff, JASMINE BUDZYN, was performing her

designated duties and responsibilities on the evening shift at the Kentucky Fried Chicken restaurant

located at 442 N. Weber Rd., Romeoville, Illinois. Despite assurances from Ms. Tiffany Ollie that

JAMES JOHNSON would not work the same shift as JASMINE BUDZYN, JAMES JOHNSON,

JR. was assigned to the same shift as her.

       59.     On December 28, 2019, the Defendant, JAMES JOHNSON JR., while in the scope

of his employment, as a manager at the KFC in Romeoville, grabbed JASMINE BUDZYN,
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wrapped his arms around JASMINE BUDZYN's shoulder, pushed JASMINE BUDZYN into the

men's restroom, and locked the door of the men's restroom.

       60.     On December 28, 2019, the Defendant, JAMES JOHNSON JR., individually and

as agent for KFC CORPORATION and KFC and against the Plaintiff’s wishes, without her

consent, and over her vehement objections, sexually assaulted JASMINE BUDZYN. Specifically,

JAMES JOHNSON JR., individually and as agent for KFC CORPORATION and KFC, raped the

Plaintiff by engaging in acts of digital penetration of her vagina without her consent.

       61.     On December 28, 2019, Defendant, JAMES JOHNSON JR., individually and as

agent for FQSR, LLC, and against the Plaintiff’s wishes, without her consent, and over her

vehement objections, sexually assaulted JASMINE BUDZYN. Specifically, JAMES JOHNSON

JR., individually and as agent for FQSR, LLC, raped the Plaintiff by engaging in acts of digital

penetration of her vagina without her consent.

       62.     On December 28, 2019, Defendant, JAMES JOHNSON JR., individually and as

agent for KBP FOODS, LLC, and against Plaintiff’s wishes, without her consent and over her

vehement objections, sexually assaulted JASMINE BUDZYN. Specifically, JAMES JOHNSON

JR., individually and as agent for KBP FOODS, LLC, raped the Plaintiff by engaging in acts of

digital penetration of her vagina without her consent.

       63.     After the Plaintiff, JASMINE BUDZYN was raped, she reported the incident to

Ms. Tiffany Ollie, the restaurant manager and agent of the Defendants as well as Mr. Mario Perea,

the regional manager for Defendants.

       64.     The Plaintiff, JASMINE BUDZYN, requested that all footage of the incident and

from the day of the accident that were captured on the multiple surveillance cameras at the

Kentucky Fried Chicken at 442 Weber Rd., Romeoville, Illinois be preserved. The Plaintiff was
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informed that the cameras were not working and thus there was no video footage to capture the

assault, battery, and rape of the Plaintiff.

        65.     The sexual assault, battery, and rape committed by the Defendant, JAMES

JOHNSON JR., individually and as agent for KFC CORPORATION and KFC, against JASMINE

BUDZYN, caused her to suffer great mental anguish, shame, and humiliation. The Plaintiff,

JASMINE BUDZYN, began to suffer from depression and other physical and psychological

problems.

        66.     The sexual assault, battery, and rape committed by the Defendant, JAMES

JOHNSON JR., individually and as agent for FQSR, LLC against JASMINE BUDZYN, caused

her to suffer great mental anguish, shame, and humiliation. The Plaintiff, JASMINE BUDZYN,

began to suffer from depression and other physical and psychological problems.

        67.     The sexual assault, battery, and rape committed by the Defendant, JAMES

JOHNSON JR., individually and as agent for KBP FOODS, LLC, against JASMINE BUDZYN,

caused her to suffer great mental anguish, shame, and humiliation. The Plaintiff, JASMINE

BUDZYN, began to suffer from depression and other physical and psychological problems.

        68.     As a result of the sexual assault, battery, and rape committed by the Defendant,

JAMES JOHNSON JR., while in the scope and course of his employment, on JASMINE

BUDZYN, she was constructively discharged from the Kentucky Fried Chicken at 442 Weber Rd.,

Romeoville, Illinois on January 15, 2020.

        69.     During the post-rape investigation, upon information and belief, the Plaintiff

learned that when the Defendant, JAMES JOHNSON JR., was working at the Kentucky Fried

Chicken located at 116 Larkin Road, Joliet, Illinois, he was transferred to the Romeoville location
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after the Defendants received complaints that his behavior may have been harassing to employees

at the KFC.

          70.   During the post-rape investigation, upon information and belief, the Plaintiff

learned that when Defendant, JAMES JOHNSON JR., was working at the Kentucky Fried Chicken

located at 116 Larkin Road, Joliet, Illinois, he was transferred to the Romeoville location after the

Defendants received complaints that his behavior was harassing toward customers.

          71.   Accordingly, as of September 2019, when the Plaintiff, JASMINE BUDZYN, first

began working at the Kentucky Fried Chicken at 442 Weber Rd., Romeoville, Illinois, the named

Defendants were all aware of the extreme danger that the Defendant, JAMES JOHNSON, JR.,

posed to the Plaintiff prior to his engaging in the conduct at issue in this matter.

          72.   As a result of the rape and other improper conduct engaged in by the Defendant,

JAMES JOHNSON JR., a Plenary Stalking No Contact Order was entered by the Twelfth Judicial

Circuit Court on February 11, 2020, prohibiting the Defendant, JAMES JOHNSON JR., from

contacting the Plaintiff, JASMINE BUDZYN, for a period of two (2) years. (See Exhibit 3 attached

hereto)

          73.   Furthermore, as a result of the improper conduct engaged in by the Defendant,

JAMES JOHNSON JR., the State's Attorney Office of Will County has filed criminal charges

against JAMES JOHNSON JR. As of the date, this matter has been filed, the criminal case remains

pending against the Defendant, JAMES JOHNSON, JR., and there has been no resolution of that

matter.
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                                 COUNT I
               SEXUAL HARASSMENT/HOSTILE WORK ENVIRONMENT
                         KFC CORPORATION and KFC

       1-45. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-6, 11-14,

and 19-22 of the parties; 25-28 of the Jurisdiction; and paragraphs 29, 32, 35-36, 39, 42, 45-48,

51-55, 58-60, 63-65, 68-73 of the actual allegations.

       46.     As a result of the inappropriate and unwelcome sexual behavior and sexual assaults

perpetrated by Defendant JAMES JOHNSON JR., in his role as the agent and employee of the

Defendants, KFC CORPORATION and KFC, JASMINE BUDZYN’s work environment was

sexually hostile. The Defendants’ failure to take any steps to stop this behavior amounted to

condonation, ratification, approval, and perpetuation of the rape, sexually inappropriate behavior

and the hostile work environment.

       47.     By creating, condoning, and perpetuating a sexually hostile work environment, the

Defendants, KFC CORPORATION and KFC have intentionally and with reckless disregard

violated Title VII of the Civil Rights act of 1964 as amended in 1991.

       48.     The Defendants’ condonation, ratification, approval, and perpetuation of its

agent/employee’s deviant, dangerous and improper sexual behavior has caused Plaintiff,

JASMINE BUDZYN, to suffer emotional distress, embarrassment, degradation, depression, and

humiliation.

       49.     The Plaintiff demands a trial by jury.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this court:

               a. Enter a declaratory judgment that the practices complained of are
                  unlawful and violative of the Civil Rights Act of 1964, as amended by
                  the Civil Rights Act of 1991.
               b. Permanently enjoin the Defendants, KFC CORPORATION and KFC,
                  from engaging in each of the unlawful practices, policies, customs, and
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                    usages set forth herein, and from continuing any and all practices shown
                    to be in violation of the law.
               c.   Order modification or elimination of the of the practices, policies,
                    customs, and usages set forth herein and all other such practices shown
                    to be in violation of the law so that they will not harass or discriminate
                    on the basis of sex.
               d.   Compensate and make the Plaintiff whole for all earnings and wages,
                    including prejudgment interest and other benefits that she would have
                    received had she not been subjected to the sexually hostile practices of
                    the Defendants.
               e.   Award the Plaintiff the costs and disbursements of this action including
                    reasonable attorneys’ fees.
               f.   Award the Plaintiff punitive damages for the Defendants’ willful
                    conduct.
               g.   Reinstate the Plaintiff to her position within the Defendants’ business
               h.   Grant other relief as the court deems just and proper.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN respectfully prays that this Honorable

Court enter a judgment against the Defendants, KFC CORPORATION and KFC, for a sum in

excess of $75,000.00 for compensatory damages, punitive damages and award JASMINE

BUDZYN her reasonable attorneys’ fees and all costs of this action.

                                 COUNT II
               SEXUAL HARASSMENT/HOSTILE WORK ENVIRONMENT
                                FQSR, LLC

       1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2,7-8, 15-

16, 19-21, 23 of the parties; 25-28 of the Jurisdiction; and paragraphs 30, 33, 35, 37, 40, 43, 45-

47, 49, 51-54, 56, 58-59, 61, 63-64, 66, 68-73 of the actual allegations.

       42.     As a result of the inappropriate and unwelcome sexual behavior and sexual assaults

perpetrated by Defendant, JAMES JOHNSON JR., in his role as the agent and employee of the

Defendant, FQSR, LLC, JASMINE BUDZYN’s work environment was sexually hostile. The

Defendant’s failure to take any steps to stop this behavior amounted to condonation, ratification,

approval, and perpetuation of the rape, sexually inappropriate behavior and the hostile work

environment.
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       43.     By creating, condoning, and perpetuating a sexually hostile work environment, the

Defendant, FQSR, LLC has intentionally and with reckless disregard violated Title VII of the Civil

Rights act of 1964 as amended in 1991.

       44.     The Defendant’s condonation, ratification, approval, and perpetuation of its

agent/employee’s deviant, dangerous and improper sexual behavior has caused Plaintiff,

JASMINE BUDZYN, to suffer emotional distress, embarrassment, degradation, depression and

humiliation.

       45.     The Plaintiff demands a trial by jury.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this court:

               a. Enter a declaratory judgment that the practices complained of are
                  unlawful and violative of the Civil Rights Act of 1964, as amended by
                  the Civil Rights Act of 1991.
               b. Permanently enjoins the Defendant, FQSR, LLC, from engaging in each
                  of the unlawful practices, policies, customs, and usages set forth herein,
                  and from continuing any and all practices shown to be in violation of
                  the law.
               c. Order modification or elimination of the of the practices, policies,
                  customs, and usages set forth herein and all other such practices shown
                  to be in violation of the law so that they will not harass or discriminate
                  on the basis of sex.
               d. Compensate and make the Plaintiff whole for all earnings and wages,
                  including prejudgment interest and other benefits that she would have
                  received had she not been subjected to the sexually hostile practices of
                  the Defendants.
               e. Award the Plaintiff the costs and disbursements of this action including
                  reasonable attorneys’ fees.
               f. Award the Plaintiff punitive damages for the Defendant’s willful
                  conduct.
               g. Reinstate the Plaintiff to her position within the Defendants business
               h. Grant other relief as the court deems just and proper.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN respectfully prays that this Honorable

Court enter a judgment against the Defendant, FQSR, LLC, for a sum in excess of $75,000.00 for
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compensatory damages, punitive damages and award JASMINE BUDZYN her reasonable

attorneys’ fees and all costs of this action.

                                COUNT III
               SEXUAL HARASSMENT/HOSTILE WORK ENVIRONMENT
                              KBP FOODS, LLC

        1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2, 9-10,

17-21, 24 of the parties; 25-28 of the Jurisdiction; and paragraphs 31, 34-35, 38, 41, 44-47, 50-54,

57-59, 62-64, 67-73 of the actual allegations.

        42.     As a result of the inappropriate and unwelcome sexual behavior and sexual assaults

perpetrated by Defendant, JAMES JOHNSON JR., in his role as the agent and employee of the

Defendant, KBP FOODS, LLC, JASMINE BUDZYN’s work environment was sexually hostile.

The Defendant’s failure to take any steps to stop this behavior amounted to condonation,

ratification, approval, and perpetuation of the rape, sexually inappropriate behavior and the hostile

work environment.

        43.     By creating, condoning, and perpetuating a sexually hostile work environment, the

Defendant, KBP FOODS, LLC has intentionally and with reckless disregard violated Title VII of

the Civil Rights act of 1964 as amended in 1991.

        44.     The Defendant’s condonation, ratification, approval, and perpetuation of its

agent/employee’s deviant, dangerous and improper sexual behavior has caused Plaintiff,

JASMINE BUDZYN, to suffer emotional distress, embarrassment, degradation, depression and

humiliation.

        45.     The Plaintiff demands a trial by jury.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this court:
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               a. Enter a declaratory judgment that the practices complained of are
                  unlawful and violative of the Civil Rights Act of 1964, as amended by
                  the Civil Rights Act of 1991.
               b. Permanently enjoins the Defendant, KBP FOODS, LLC, from engaging
                  in each of the unlawful practices, policies, customs, and usages set forth
                  herein, and from continuing any and all practices shown to be in
                  violation of the law.
               c. Order modification or elimination of the of the practices, policies,
                  customs, and usages set forth herein and all other such practices shown
                  to be in violation of the law so that they will not harass or discriminate
                  on the basis of sex.
               d. Compensate and make the Plaintiff whole for all earnings and wages,
                  including prejudgment interest and other benefits that she would have
                  received had she not been subjected to the sexually hostile practices of
                  the Defendants.
               e. Award the Plaintiff the costs and disbursements of this action including
                  reasonable attorneys’ fees.
               f. Award the Plaintiff punitive damages for the Defendant’s willful
                  conduct.
               g. Reinstate the Plaintiff to her position within the Defendants business
               h. Grant other relief as the court deems just and proper.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN respectfully prays that this Honorable

Court enter a judgment against the Defendant, KBP FOODS, LLC, for a sum in excess of

$75,000.00 for compensatory damages, punitive damages and award JASMINE BUDZYN her

reasonable attorneys’ fees and all costs of this action.

                                 COUNT IV
         SEXUAL HARASSMENT/HOSTILE WORK ENVIRONMENT
 JAMES JOHNSON JR. individually and as agent or employee of KFC CORPORATION
                                  and KFC

       1-45. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-6, 11-14,

and 19-22 of the parties; 25-28 of the Jurisdiction; and paragraphs 29, 32, 35-36, 39, 42, 45-48,

51-55, 58-60, 63-65, 68-73 of the actual allegations.

       46.     As a result of the inappropriate and unwelcome sexual behavior and sexual assaults

perpetrated by Defendant JAMES JOHNSON JR., in his role as the agent and employee of the

Defendants, KFC CORPORATION and KFC, JASMINE BUDZYN’s work environment was
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sexually hostile. The Defendants’ failure to take any steps to stop this behavior amounted to

condonation, ratification, approval, and perpetuation of the rape, sexually inappropriate behavior

and the hostile work environment.

       47.     By creating, condoning, and perpetuating a sexually hostile work environment, the

Defendant has intentionally and with reckless disregard violated Title VII of the Civil Rights act

of 1964 as amended in 1991.

       48.     The Defendant’s condonation, ratification, approval, and perpetuation of its

agent/employee’s deviant, dangerous and improper sexual behavior has caused the Plaintiff,

JASMINE BUDZYN, to suffer emotional distress, embarrassment, degradation, depression and

humiliation.

       49.     The Plaintiff demands a trial by jury.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this court:

               a. Enter a declaratory judgment that the practices complained of are
                  unlawful and violative of the Civil Rights Act of 1964, as amended by
                  the Civil Rights Act of 1991.
               b. Permanently enjoins the Defendant, JAMES JOHNSON JR.
                  individually and as agent or employee of KFC CORPORATION and
                  KFC, from engaging in each of the unlawful practices, policies,
                  customs, and usages set forth herein, and from continuing any and all
                  practices shown to be in violation of the law.
               c. Order modification or elimination of the of the practices, policies,
                  customs, and usages set forth herein and all other such practices shown
                  to be in violation of the law so that they will not harass or discriminate
                  on the basis of sex.
               d. Compensate and make the Plaintiff whole for all earnings and wages,
                  including prejudgment interest and other benefits that she would have
                  received had she not been subjected to the sexually hostile practices of
                  the Defendants, JAMES JOHNSON, JR. individually and as agent and
                  employee of KFC CORPORATION and KFC.
               e. Award the Plaintiff the costs and disbursements of this action including
                  reasonable attorneys’ fees.
               f. Award the Plaintiff punitive damages for the Defendants’ willful
                  conduct.
               g. Reinstate the Plaintiff to her position within the Defendant’s business
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                h. Grant other relief as the court deems just and proper.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN respectfully prays that this Honorable

Court enter a judgment against the Defendant, JAMES JOHNSON JR. individually and as agent

or employee of KFC CORPORATION and KFC, for a sum in excess of $75,000.00 for

compensatory damages, punitive damages and award JASMINE BUDZYN her reasonable

attorneys’ fees and all costs of this action.

                                  COUNT V
           SEXUAL HARASSMENT/HOSTILE WORK ENVIRONMENT
       JAMES JOHNSON JR. individually and as agent or employee of FQSR, LLC

        1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2,7-8, 15-

16, 19-21, 23 of the parties; 25-28 of the Jurisdiction; and paragraphs 30, 33, 35, 37, 40, 43, 45-

47, 49, 51-54, 56, 58-59, 61, 63-64, 66, 68-73 of the actual allegations.

        42.     As a result of the inappropriate and unwelcome sexual behavior and sexual assaults

perpetrated by Defendant JAMES JOHNSON JR., in his role as the agent and employee of the

Defendant, FQSR, LLC, JASMINE BUDZYN’s work environment was sexually hostile. The

Defendant’s failure to take any steps to stop this behavior amounted to condonation, ratification,

approval, and perpetuation of the rape, sexually inappropriate behavior and the hostile work

environment.

        43.     By creating, condoning, and perpetuating a sexually hostile work environment, the

Defendant has intentionally and with reckless disregard violated Title VII of the Civil Rights act

of 1964 as amended in 1991.

        44.     The Defendant’s condonation, ratification, approval, and perpetuation of its

agent/employee’s deviant, dangerous and improper sexual behavior has caused the Plaintiff,
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JASMINE BUDZYN, to suffer emotional distress, embarrassment, degradation, depression and

humiliation.

        45.    The Plaintiff demands a trial by jury.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this court:

               a. Enter a declaratory judgment that the practices complained of are
                  unlawful and violative of the Civil Rights Act of 1964, as amended by
                  the Civil Rights Act of 1991.
               b. Permanently enjoins the Defendant, JAMES JOHNSON JR.
                  individually and as agent or employee of FQSR, LLC, from engaging in
                  each of the unlawful practices, policies, customs, and usages set forth
                  herein, and from continuing any and all practices shown to be in
                  violation of the law.
               c. Order modification or elimination of the of the practices, policies,
                  customs, and usages set forth herein and all other such practices shown
                  to be in violation of the law so that they will not harass or discriminate
                  on the basis of sex.
               d. Compensate and make the Plaintiff whole for all earnings and wages,
                  including prejudgment interest and other benefits that she would have
                  received had she not been subjected to the sexually hostile practices of
                  the Defendant, JAMES JOHNSON JR. individually and as agent or
                  employee of FQSR, LLC.
               e. Award the Plaintiff the costs and disbursements of this action including
                  reasonable attorneys’ fees.
               f. Award the Plaintiff punitive damages for the Defendant’s willful
                  conduct.
               g. Reinstate the Plaintiff to her position within the Defendant’s business
               h. Grant other relief as the court deems just and proper.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN respectfully prays that this Honorable

Court enter a judgment against the Defendant, JAMES JOHNSON JR. individually and as agent

or employee of FQSR, LLC, for a sum in excess of $75,000.00 for compensatory damages,

punitive damages and award JASMINE BUDZYN her reasonable attorneys’ fees and all costs of

this action.
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                                 COUNT VI
          SEXUAL HARASSMENT/HOSTILE WORK ENVIRONMENT
   JAMES JOHNSON JR. individually and as agent or employee of KBP FOODS, LLC

       1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2, 9-10,

17-21, 24 of the parties; 25-28 of the Jurisdiction; and paragraphs 31, 34-35, 38, 41, 44-47, 50-54,

57-59, 62-64, 67-73 of the actual allegations.

       42.     As a result of the inappropriate and unwelcome sexual behavior and sexual assaults

perpetrated by Defendant JAMES JOHNSON JR., in his role as the agent and employee of the

Defendant, KBP FOODS, LLC, JASMINE BUDZYN’s work environment was sexually hostile.

The Defendant’s failure to take any steps to stop this behavior amounted to condonation,

ratification, approval, and perpetuation of the rape, sexually inappropriate behavior and the hostile

work environment.

       43.     By creating, condoning, and perpetuating a sexually hostile work environment, the

Defendant has intentionally and with reckless disregard violated Title VII of the Civil Rights act

of 1964 as amended in 1991.

       44.     The Defendant’s condonation, ratification, approval, and perpetuation of its

agent/employee’s deviant, dangerous and improper sexual behavior has caused the Plaintiff,

JASMINE BUDZYN, to suffer emotional distress, embarrassment, degradation, depression and

humiliation.

       45.     The Plaintiff demands a trial by jury.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this court:

               a. Enter a declaratory judgment that the practices complained of are
                  unlawful and violative of the Civil Rights Act of 1964, as amended by
                  the Civil Rights Act of 1991.
               b. Permanently enjoins the Defendant, JAMES JOHNSON JR.
                  individually and as agent or employee of KBP FOODS, LLC, from
                  engaging in each of the unlawful practices, policies, customs, and
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                    usages set forth herein, and from continuing any and all practices shown
                    to be in violation of the law.
               c.   Order modification or elimination of the of the practices, policies,
                    customs, and usages set forth herein and all other such practices shown
                    to be in violation of the law so that they will not harass or discriminate
                    on the basis of sex.
               d.   Compensate and make the Plaintiff whole for all earnings and wages,
                    including prejudgment interest and other benefits that she would have
                    received had she not been subjected to the sexually hostile practices of
                    the Defendant, JAMES JOHNSON JR. individually and as agent or
                    employee of KBP FOODS, LLC.
               e.   Award the Plaintiff the costs and disbursements of this action including
                    reasonable attorneys’ fees.
               f.   Award the Plaintiff punitive damages for the Defendant’s willful
                    conduct.
               g.   Reinstate the Plaintiff to her position within the Defendant’s business
               h.   Grant other relief as the court deems just and proper.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN respectfully prays that this Honorable

Court enter a judgment against the Defendant, JAMES JOHNSON JR. individually and as agent

or employee of KBP FOODS, LLC, for a sum in excess of $75,000.00 for compensatory damages,

punitive damages and award JASMINE BUDZYN her reasonable attorneys’ fees and all costs of

this action.

                                       COUNT VII
                                 NEGLIGENT RETENTION
                                KFC CORPORATION and KFC

        1-45. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-6, 11-14,

and 19-22 of the parties; 25-28 of the Jurisdiction; and paragraphs 29, 32, 35-36, 39, 42, 45-48,

51-55, 58-60, 63-65, 68-73 of the actual allegations.

        46.    During the course of her employment at the Defendants, KFC CORPORATION

and KFC, JASMINE BUDZYN was assaulted by the Defendant, JAMES JOHNSON JR., who

was a manager at the restaurant, and was subjected to a sexually hostile work environment.
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       47.     The Defendant, JAMES JOHNSON JR., upon information and belief, had worked

at another Kentucky Fried Chicken located at 116 Larkin Road, Joliet, Illinois prior to working at

the Kentucky Fried Chicken in Romeoville. The Kentucky Fried Chicken where JAMES

JOHNSON JR. had worked prior, was owned by the Defendants, KFC CORPORATION and KFC,

and they were the franchisors of this restaurant. As franchisors, the Defendants knew or should

have known about its manager’s sexually lewd and sexually harassing behavior. Upon information

and belief, at that restaurant in Joliet, the Defendant, JAMES JOHNSON JR., was sexually

harassing employees and customers. As a result of his harassing behavior, rather than being

terminated, he was retained and transferred to the restaurant in Romeoville where he became the

co-employee and/or manager of the Plaintiff, JASMINE BUDZYN.

       48.     The Plaintiff, JASMINE BUDZYN, complained to the Defendants, KFC

CORPORATION and KFC, through Tiffany Ollie, about JAMES JOHNSON JR.’s sexual

harassment. Rather than make the work environment safe for the Plaintiff, Tiffany Ollie, the duly

authorized agent of the Defendants, ignored her complaints of JAMES JOHNSON JR.’s behavior

and continued to keep JAMES JOHNSON JR. employed and continued to schedule him to work

with the Plaintiff, JASMINE BUDZYN.

       49.     The Defendants, KFC CORPORATION and KFC, were negligent in supervising

JAMES JOHNSON JR. and retaining him in his position as it had actual knowledge of JAMES

JOHNSON JR.’s particular unfitness as an employee as he fostered a sexually hostile work

environment.

       50.     The Defendants, KFC CORPORATION and KFC, as the franchisors, owed

JASMINE BUDZYN a duty to properly investigate its candidates for employment, and to respond

to complaints of sexually lewd and harassing behavior including the employment of and conduct
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of JAMES JOHNSON JR., and further owed the Plaintiff a duty to properly supervise said

employee so that he would not commit tortious acts against other individuals, including JASMINE

BUDZYN.

       51.    Notwithstanding said duty as alleged, the Defendants, KFC CORPORATION and

KFC, breached said duty by carelessly and negligently:

              a. Failing to terminate JAMES JOHNSON JR.’s employment when the
                 Defendants knew or should have known of his sexually harassing
                 conduct.
              b. Failing to otherwise discipline JAMES JOHNSON JR. when the
                 Defendants knew or should have known of his sexually harassing
                 conduct.
              c. Failing to conduct a proper investigation of Tiffany Ollie’s management
                 after JASMINE BUDZYN complained to her about the assaults,
                 batteries and sexual harassment of JAMES JOHNSON JR. on her.
              d. Failing to warn and/or otherwise protect the Plaintiff from Tiffany
                 Ollie’s lack of management skills in failing to investigate and respond
                 to JASMINE BUDZYN’S complaints of sexual harassment committed
                 on her by JAMES JOHNSON JR.
              e. Improperly retaining and transferring JAMES JOHNSON JR. to the
                 Romeville Kentucky Fried Chicken from the Joliet Kentucky Fried
                 Chicken, when the Defendants, KFC CORPORATION and KFC, had
                 knowledge that JAMES JOHNSON JR. was sexually harassing
                 employees and customers.

       52.    As a direct and proximate result of the Defendants’, KFC CORPORATION and

KFC, breaches as set forth above, the Plaintiff, JASMINE BUDZYN, suffered physical injuries,

great mental anguish, embarrassment, emotional distress, depression, and pecuniary losses.

       53.    The Plaintiff demands a trial by jury.

   WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendants, KFC CORPORATION and KFC, for a sum in

excess of $75,000.00 for compensatory damages, punitive damages and award JASMINE

BUDZYN her reasonable attorneys’ fees and all costs of this action.
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                                       COUNT VIII
                                  NEGLIGENT RETENTION
                                       FQSR, LLC

       1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2,7-8, 15-

16, 19-21, 23 of the parties; 25-28 of the Jurisdiction; and paragraphs 30, 33, 35, 37, 40, 43, 45-

47, 49, 51-54, 56, 58-59, 61, 63-64, 66, 68-73 of the actual allegations.

       42.     During her employment for the Defendant, FQSR, LLC, JASMINE BUDZYN was

physically and sexually assaulted by the Defendant, JAMES JOHNSON JR. and was subjected to

a sexually hostile work environment.

       43.     The Defendant, JAMES JOHNSON JR., had worked at another Kentucky Fried

Chicken located at 116 Larkin Road, Joliet, Illinois prior to working at the Kentucky Fried Chicken

in Romeoville. The Kentucky Fried Chicken where JAMES JOHNSON JR. had worked prior, was

owned and operated by the Defendant, FQSR, LLC. At that restaurant in Joliet, the Defendant,

JAMES JOHNSON JR., was sexually harassing employees and customers. As a result of his

harassing behavior, rather than being terminated, he was retained and transferred to the restaurant

in Romeoville where he became the co-employee and/or manager of the Plaintiff, JASMINE

BUDZYN.

       44.     The Plaintiff, JASMINE BUDZYN, complained to the Defendant, FQSR, LLC,

through TIFFANY OLLIE, about JAMES JOHNSON JR.’s sexual harassment. Rather than make

the work environment safe for the Plaintiff, TIFFANY OLLIE, the duly authorized agent of the

Defendant, FQSR, LLC, ignored her complaints of JAMES JOHNSON JR.’s behavior and

continued to keep JAMES JOHNSON JR. employed and continued to schedule him to work with

the Plaintiff, JASMINE BUDZYN.
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       45.     The Defendant, FQSR, LLC, was negligent in supervising JAMES JOHNSON JR.

and retaining him in his position as it had actual knowledge of JAMES JOHNSON JR.’s particular

unfitness as an employee as he fostered a sexually hostile work environment.

       46.     The Defendant, FQSR, LLC, owed JASMINE BUDZYN a duty to properly

investigate its candidates for employment, including JAMES JOHNSON JR., and further owed

the Plaintiff a duty to properly supervise said employee so that he would not commit tortious acts

against other individuals, including JASMINE BUDZYN.

       47.     Notwithstanding said duty as alleged, the Defendant, FQSR, LLC, breached said

duty by carelessly and negligently:

               a. Failing to terminate JAMES JOHNSON JR.’s employment when the
                  Defendant, FQSR, LLC, knew or should have known of his sexually
                  harassing conduct.
               b. Failing to otherwise discipline JAMES JOHNSON JR. when it knew or
                  should have known of his sexually harassing conduct.
               c. Failing to conduct a proper investigation of TIFFANY OLLIE’s
                  management after JASMINE BUDZYN complained regarding the
                  assaults, batteries, and sexual harassment.
               d. Failing to warn and/or otherwise protect the Plaintiff from TIFFANY
                  OLLIE’s lack of management.
               e. Improperly retaining and transferring JAMES JOHNSON JR. to the
                  Romeville Kentucky Fried Chicken from the Joliet Kentucky Fried
                  Chicken, when the Defendant, FQSR, LLC, had knowledge that JAMES
                  JOHNSON JR. was sexually harassing employees and customers.

       48.     As a direct and proximate result of the Defendant’s, FQSR, LLC, breaches as set

forth above, Plaintiff, JASMINE BUDZYN, suffered physical injuries, great mental anguish,

embarrassment, emotional distress, depression and pecuniary losses.

       49.     The Plaintiff demands a trial by jury.

   WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendant, FQSR, LLC, for a sum in excess of $75,000.00 for
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compensatory damages, punitive damages and award JASMINE BUDZYN her reasonable

attorneys’ fees and all costs of this action.

                                         COUNT IX
                                   NEGLIGENT RETENTION
                                      KBP FOODS, LLC

        1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2, 9-10,

17-21, 24 of the parties; 25-28 of the Jurisdiction; and paragraphs 31, 34-35, 38, 41, 44-47, 50-54,

57-59, 62-64, 67-73 of the actual allegations.

        42.     During the course of her employment at the Defendant, KBP FOODS, LLC,

JASMINE BUDZYN was assaulted by the Defendant, JAMES JOHNSON JR. and was subjected

to a sexually hostile work environment.

        43.     The Defendant, JAMES JOHNSON JR., had worked at another Kentucky Fried

Chicken located at 116 Larkin Road, Joliet, Illinois prior to working at the Kentucky Fried Chicken

in Romeoville. The Kentucky Fried Chicken where JAMES JOHNSON JR. had worked prior, was

owned by the Defendant, KBP FOODS, LLC. At that restaurant in Joliet, the Defendant, JAMES

JOHNSON JR., was sexually harassing employees and customers. As a result of his harassing

behavior, rather than being terminated, he was retained and transferred to the restaurant in

Romeoville where he became the co-employee and/or manager of the Plaintiff, JASMINE

BUDZYN.

        44.     The Plaintiff, JASMINE BUDZYN, complained to the Defendant, KBP FOODS,

LLC, through TIFFANY OLLIE, about JAMES JOHNSON JR.’s sexual harassment. Rather than

make the work environment safe for the Plaintiff and follow the appropriate protocols for

complaints about sexual harassment, TIFFANY OLLIE, the duly authorized agent of the

Defendant, KBP FOODS, LLC, ignored her complaints about JAMES JOHNSON JR.’s behavior
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and continued to keep JAMES JOHNSON, JR. employed and continued to schedule him to work

with the Plaintiff, JASMINE BUDZYN.

       45.     The Defendant, KBP FOODS, LLC, was negligent in supervising JAMES

JOHNSON JR. and retaining him in his position as it had actual knowledge of JAMES JOHNSON

JR.’s particular unfitness as an employee as he fostered a sexually hostile work environment.

       46.     The Defendant, KBP FOODS, LLC, owed JASMINE BUDZYN a duty to properly

investigate its candidates for employment, including JAMES JOHNSON JR., and further owed

the Plaintiff a duty to properly supervise said employee so that he would not sexually harass her

commit tortious acts against her and other individuals, including JASMINE BUDZYN.

       47.     Notwithstanding said duty as alleged, the Defendant, KBP FOODS, LLC, breached

said duty by carelessly and negligently:

               a. Failing to terminate JAMES JOHNSON JR.’s employment when KBP
                  FOODS, LLC knew or should have known of his sexually harassing
                  conduct.
               b. Failing to otherwise discipline JAMES JOHNSON JR. when it knew or
                  should have known of his negligent conduct.
               c. Failing to conduct a proper investigation of TIFFANY OLLIE’s
                  management and her failure to follow sexual harassment protocols after
                  JASMINE BUDZYN complained regarding the assaults, batteries, and
                  sexual harassment.
               d. Failing to warn and/or otherwise protect the Plaintiff from TIFFANY
                  OLLIE’s lack of management skills in failing to follow sexual
                  harassment protocols.
               e. Retaining and transferring JAMES JOHNSON JR. to the Romeville
                  Kentucky Fried Chicken from the Joliet Kentucky Fried Chicken, when
                  the Defendant, KBP FOODS, LLC, had knowledge that JAMES
                  JOHNSON JR. was sexually harassing employees and customers.
               f. Failing to provide adequate sexual harassment training to its supervisors
                  and managers, and, as a result, the managers did not know how to
                  appropriately handle the sexual harassment and misconduct committed
                  by James Johnson on Jasmine Budzyn.
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       48.     As a direct and proximate result of the Defendant’s, KBP FOODS, LLC, breaches

as set forth above, Plaintiff, JASMINE BUDZYN, suffered physical injuries, great mental anguish,

embarrassment, emotional distress, depression and pecuniary losses.

       49.     The Plaintiff demands a trial by jury.

   WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendant, KBP FOODS, LLC, for a sum in excess of

$75,000.00 for compensatory damages, punitive damages and award JASMINE BUDZYN her

reasonable attorneys’ fees and all costs of this action.

                               COUNT X
              WILLFUL AND WANTON SUPERVISION AND RETENTION
                        KFC CORPORATION and KFC

       1-45. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-6, 11-14,

and 19-22 of the parties; 25-28 of the Jurisdiction; and paragraphs 29, 32, 35-36, 39, 42, 45-48,

51-55, 58-60, 63-65, 68-73 of the actual allegations.

       46.     During the course of her employment at the Defendants’ Kentucky Fried Chicken

restaurant, JASMINE BUDZYN was sexually assaulted by Defendant, JAMES JOHNSON JR.,

and was subjected to a sexually hostile work environment.

       47.     The Plaintiff, JASMINE BUDZYN complained to the Defendants, KFC

CORPORATION and KFC, through TIFFANY OLLIE, about JAMES JOHNSON JR.’s sexual

harassment.

       48.     The Defendants showed a conscious disregard for the Plaintiff’s, JASMINE

BUDZYN, safety in supervising the Defendant, JAMES JOHNSON JR., and retaining him in his

position, as it had actual knowledge of the Defendant, JAMES JOHNSON JR.’s, particular

unfitness as an employee, as he fostered a sexually hostile work environment.
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       49.    The Defendants, KFC CORPORATION and KFC, owed JASMINE BUDZYN a

duty to properly investigate its candidates for employment and investigate them during their

employment when there have been complaints about sexual harassment and physical threats. This

duty by the Defendants, included the Defendant, JAMES JOHNSON JR., and the Defendants,

KFC CORPORATION and KFC, further owed the Plaintiff a duty to properly supervise said

employee so that he would not commit tortious acts against other individuals, including the

Plaintiff, JASMINE BUDZYN.

       50.    The Defendants, KFC CORPORATION and KFC, had prior knowledge of the

Defendant, JAMES JOHNSON JR.’s, illicit and sexually lewd behavior, that he was harassing

customers and other employees at the Kentucky Fried Chicken located in Joliet and the Defendants

failed to do anything about his conduct. With this knowledge of his illicit conduct, it was

incumbent upon the Defendants to follow sexual harassment protocols to modify and/or discipline

his behavior and/or to terminate his employment. Despite having knowledge of his illicit conduct,

the Defendants failed to do anything to modify and/or discipline the behavior of JAMES

JOHNSON JR or to terminate him.

       51.    Notwithstanding said duty as alleged, the Defendants, KFC CORPORATION and

KFC, breached said duty by willfully and wantonly:

              a. Failing to discipline and/or terminate JAMES JOHNSON JR.’s
                 employment when KFC CORPORATION and KFC, through their agents
                 and employees, witnessed JAMES JOHNSON JR., make inappropriate
                 advances and comments towards JASMINE BUDZYN when
                 JAMES JOHNSON JR. called the Plaintiff “a spicy taco”.

              b. Failing to discipline and/or terminate JAMES JOHNSON JR.’s
                 employment when KFC CORPORATION and KFC, through their agents
                 and employees, witnessed JAMES JOHNSON JR., make inappropriate
                 advances and comments towards JASMINE BUDZYN when JAMES
                 JOHNSON JR. got on KFC’s intercom system and told the Plaintiff he
                 was going to “bend you over and spank you”.
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         c. Failing to terminate JAMES JOHNSON JR.’s employment when KFC
            CORPORATION and KFC, through their agent, employee, and
            manager, TIFFANY OLLIE, knew or should have known of JAMES
            JOHNSON JR.’s conduct, as JASMINE BUDZYN reported each act of
            harassment and sexual harassment to TIFFANY OLLIE, but TIFFANY
            OLLIE consciously disregarded the Plaintiff’s complaints and continued
            to schedule and permit JAMES JOHNSON JR to work with JASMINE
            BUDZYN.

         d. Failing to terminate JAMES JOHNSON JR.’s employment when KFC
            CORPORATION and KFC, through their agent, employee, and
            manager, TIFFANY OLLIE, knew or should have known of JAMES
            JOHNSON JR.’s conduct, as JASMINE BUDZYN reported to
            TIFFANY OLLIE that JAMES JOHNSON JR. was continuously and
            inappropriately touching the Plaintiff’s breasts without her consent, but
            TIFFANY OLLIE consciously disregarded the Plaintiff’s complaints and
            continued to schedule and permit JAMES JOHNSON JR to work with
            JASMINE BUDZYN.

         e. Failing to terminate JAMES JOHNSON JR.’s employment when KFC
            CORPORATION and KFC, through their agent, employee, and
            manager, TIFFANY OLLIE, knew or should have known of JAMES
            JOHNSON JR.’s conduct, as JASMINE BUDZYN reported to
            TIFFANY OLLIE that JAMES JOHNSON JR. was continuously and
            inappropriately pulling her hair without her consent, but TIFFANY
            OLLIE consciously disregarded the Plaintiff’s complaints and continued
            to schedule and permit JAMES JOHNSON JR. to work with JASMINE
            BUDZYN.

         f. Failing to terminate JAMES JOHNSON JR.’s employment when KFC
            CORPORATION and KFC, through their agent, employee, and
            manager, TIFFANY OLLIE, knew or should have known of JAMES
            JOHNSON JR.’s conduct, as JASMINE BUDZYN reported to
            TIFFANY OLLIE that JAMES JOHNSON JR. had continuously and
            inappropriately attempted and succeeded at kissing the Plaintiff on the
            mouth without her consent, but TIFFANY OLLIE consciously
            disregarded the Plaintiff’s complaints and continued to schedule and
            permit JAMES JOHNSON JR. to work with JASMINE BUDZYN.

         g. Made the conscious decision to not terminate JAMES JOHNSON JR.’s
            employment when KFC CORPORATION and KFC, knew or should
            have known of JAMES JOHNSON JR.’s conduct and continued to
            schedule and permit JAMES JOHNSON JR. to work with JASMINE
            BUDZYN.
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               h. Failing to discipline JAMES JOHNSON JR. when KFC
                  CORPORATION and KFC, knew or should have known of his harassing
                  conduct.

               i. Made the conscious decision to not launch a proper investigation and/or
                  inquiry of the management and JAMES JOHNSON JR.’s conduct after
                  JASMINE BUDZYN complained about the assaults, batteries, and
                  sexual harassment on numerous occasions.

               j. Knowingly failed to warn and/or otherwise protect the Plaintiff from the
                  lack of management in retaining and transferring JAMES JOHNSON JR.
                  as the Defendants knew of JAMES JOHNSON JR.’s sexually deviant
                  past at the Joliet KFC.

               k. Knowingly allowed JAMES JOHNSON JR. to work alongside the
                  Plaintiff, JASMINE BUDZYN, despite the Defendants’ knowledge of
                  JAMES JOHNSON JR.’s sexually deviant past at the Joliet KFC.

       52.     As a direct and proximate result of Defendants’, KFC CORPORATION and KFC,

breaches and conscious disregard for the safety of the Plaintiff, as set forth above, JASMINE

BUDZYN suffered physical injuries, great mental anguish, embarrassment, emotional distress,

depression and pecuniary losses. The Plaintiff demands a trial by jury.

       WHEREFORE, The Plaintiff, JASMINE BUDZYN, respectfully prays that this

Honorable Court enter a judgment against Defendants, KFC CORPORATION and KFC, for a sum

in excess of $75,000.00 as compensatory damages, punitive damages, and award JASMINE

BUDZYN her reasonable attorneys’ fees and all costs of this action.

                               COUNT XI
              WILLFUL AND WANTON SUPERVISION AND RETENTION
                               FQSR, LLC

       1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2,7-8, 15-

16, 19-21, 23 of the parties; 25-28 of the Jurisdiction; and paragraphs 30, 33, 35, 37, 40, 43, 45-

47, 49, 51-54, 56, 58-59, 61, 63-64, 66, 68-73 of the actual allegations.
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       42.     During the course of her employment at the Defendant’s, FQSR, LLC’s Kentucky

Fried Chicken restaurant, JASMINE BUDZYN was sexually assaulted by the Defendant, JAMES

JOHNSON JR., and was subjected to a sexually hostile work environment.

       43.     The Plaintiff, JASMINE BUDZYN complained to the Defendant, FQSR, LLC,

through TIFFANY OLLIE, about JAMES JOHNSON JR.’s sexual harassment.

       44.     The Defendant, FQSR, LLC, showed a conscious disregard for the Plaintiff,

JASMINE BUDZYN’S, safety in supervising the Defendant, JAMES JOHNSON JR., and

retaining him in his position, as it had actual knowledge of the Defendant, JAMES JOHNSON

JR.’s, particular unfitness as an employee, as he fostered a sexually hostile work environment.

       45.     The Defendant, FQSR, LLC, owed JASMINE BUDZYN a duty to properly

investigate its candidates for employment and investigate them during their employment when

there had been complaints about sexual harassment and physical threats committed by JAMES

JOHNSON JR. This duty by the Defendant, included the Defendant, JAMES JOHNSON JR., and

the Defendant, FQSR, LLC, further owed the Plaintiff a duty to properly supervise this employee

so that he would not commit tortious acts against other individuals, including the Plaintiff,

JASMINE BUDZYN.

       46.     The Defendant, FQSR, LLC, had prior knowledge of the Defendant, JAMES

JOHNSON JR.’s, illicit behavior, that he was harassing customers and other employees at the

Kentucky Fried Chicken located in Joliet and the defendants failed to do anything about his

conduct.

       47.     Notwithstanding said duty as alleged, Defendant, FQSR, LLC, breached said duty

by willfully and wantonly:

               a. Failing to discipline and/or terminate JAMES JOHNSON JR.’s
                  employment when FQSR, LLC, through its agents and employees,
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            witnessed JAMES JOHNSON JR., make inappropriate advances and
            comments towards JASMINE BUDZYN when JAMES JOHNSON JR.
            called the Plaintiff “a spicy taco”.

         b. Failing to discipline and/or terminate JAMES JOHNSON JR.’s
            employment when FQSR, LLC, through its agents and employees,
            witnessed JAMES JOHNSON JR., make inappropriate advances and
            comments towards JASMINE BUDZYN when JAMES JOHNSON JR.
            got on KFC’s intercom system and told the Plaintiff he was going to
            “bend you over and spank you”.

         c. Failing to terminate JAMES JOHNSON JR.’s employment when FQSR,
            LLC, through their agent, employee, and manager, TIFFANY OLLIE,
            knew or should have known of JAMES JOHNSON JR.’s conduct, as
            JASMINE BUDZYN reported each act of harassment and sexual
            harassment to TIFFANY OLLIE, but TIFFANY OLLIE consciously
            disregarded the Plaintiff’s complaints and continued to schedule and
            permit JAMES JOHNSON JR to work with JASMINE BUDZYN.

         d. Failing to terminate JAMES JOHNSON JR.’s employment when FQSR,
            LLC, through their agent, employee, and manager, TIFFANY OLLIE,
            knew or should have known of JAMES JOHNSON JR.’s conduct, as
            JASMINE BUDZYN reported to TIFFANY OLLIE that JAMES
            JOHNSON JR. was continuously and inappropriately touching the
            Plaintiff’s breasts without her consent, but TIFFANY OLLIE
            consciously disregarded the Plaintiff’s complaints and continued to
            schedule and permit JAMES JOHNSON JR to work with JASMINE
            BUDZYN.

         e. Failing to terminate JAMES JOHNSON JR.’s employment when FQSR,
            LLC, through their agent, employee, and manager, TIFFANY OLLIE,
            knew or should have known of JAMES JOHNSON JR.’s conduct, as
            JASMINE BUDZYN reported to TIFFANY OLLIE that JAMES
            JOHNSON JR. was continuously and inappropriately pulling her hair
            without her consent, but TIFFANY OLLIE consciously disregarded the
            Plaintiff’s complaints and continued to schedule and permit JAMES
            JOHNSON JR. to work with JASMINE BUDZYN.

         f. Failing to terminate JAMES JOHNSON JR.’s employment when FQSR,
            LLC, through their agent, employee, and manager, TIFFANY OLLIE,
            knew or should have known of JAMES JOHNSON JR.’s conduct, as
            JASMINE BUDZYN reported to TIFFANY OLLIE that JAMES
            JOHNSON JR. had continuously and inappropriately attempted and
            succeeded at kissing the Plaintiff on the mouth without her consent, but
            TIFFANY OLLIE consciously disregarded the Plaintiff’s complaints
            and continued to schedule and permit JAMES JOHNSON JR. to work
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                   with JASMINE BUDZYN.

                g. Made the conscious decision to not terminate JAMES JOHNSON JR.’s
                   employment when FQSR, LLC, knew or should have known of JAMES
                   JOHNSON JR.’s conduct and continued to schedule and permit JAMES
                   JOHNSON JR. to work with JASMINE BUDZYN.

                h. Failing to discipline JAMES JOHNSON JR. when FQSR, LLC, knew
                   or should have known of his harassing conduct.

                i. Made the conscious decision to not launch a proper investigation and/or
                   inquiry of the management and JAMES JOHNSON JR.’s conduct after
                   JASMINE BUDZYN complained about the assaults, batteries, and
                   sexual harassment on numerous occasions.

                j. Knowingly failed to warn and/or otherwise protect the Plaintiff from the
                   lack of management in retaining and transferring JAMES JOHNSON JR.
                   as the Defendants knew of JAMES JOHNSON JR.’s sexually deviant
                   past at the Joliet KFC.

                k. Knowingly allowed JAMES JOHNSON JR. to work alongside the
                   Plaintiff, JASMINE BUDZYN, despite the Defendant’s knowledge of
                   JAMES JOHNSON JR.’s sexually deviant past at the Joliet KFC.

        48.     As a direct and proximate result of Defendant’s, FQSR, LLC, breaches and

conscious disregard for the safety of the Plaintiff, as set forth above, JASMINE BUDZYN suffered

physical injuries, great mental anguish, embarrassment, emotional distress, depression and

pecuniary losses. The Plaintiff demands a trial by jury.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against Defendants, FQSR, LLC, for a sum in excess of $75,000.00 as

compensatory damages, punitive damages, and award JASMINE BUDZYN her reasonable

attorneys’ fees and all costs of this action.
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                               COUNT XII
              WILLFUL AND WANTON SUPERVISION AND RETENTION
                             KBP FOODS, LLC

       1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2, 9-10,

17-21, 24 of the parties; 25-28 of the Jurisdiction; and paragraphs 31, 34-35, 38, 41, 44-47, 50-54,

57-59, 62-64, 67-73 of the actual allegations.

       42.     During the course of her employment at the Defendant’s Kentucky Fried Chicken

restaurant, JASMINE BUDZYN was sexually assaulted by Defendant, JAMES JOHNSON JR.,

and was subjected to a sexually hostile work environment.

       43.     The Plaintiff, JASMINE BUDZYN complained to the Defendant, KBP FOODS,

LLC, through TIFFANY OLLIE, about JAMES JOHNSON JR.’s sexual harassment.

       44.     The Defendant, KBP FOODS, LLC, showed a conscious disregard for the Plaintiff,

JASMINE BUDZYN’S, safety in supervising the Defendant, JAMES JOHNSON JR., and

retaining him in his position, as it had actual knowledge of the Defendant, JAMES JOHNSON

JR.’s, particular unfitness as an employee, as he fostered a sexually hostile work environment.

       45.     The Defendant, KBP FOODS, LLC, owed JASMINE BUDZYN a duty to properly

investigate its candidates for employment and investigate them during their employment when

there have been complaints about sexual harassment and physical threats. This duty by the

Defendant, included the Defendant, JAMES JOHNSON JR., and the Defendant, KBP FOODS,

LLC, further owed the Plaintiff a duty to properly supervise said employee so that he would not

commit tortious acts against other individuals, including the Plaintiff, JASMINE BUDZYN.

       46.     The Defendant, KBP FOODS, LLC, had prior knowledge of the Defendant,

JAMES JOHNSON JR.’s, illicit behavior, that he was harassing customers and other employees
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at the Kentucky Fried Chicken located in Joliet and the defendant failed to do anything about his

conduct.

       47.    Notwithstanding said duty as alleged, the Defendant, KBP FOODS, LLC, breached

said duty by willfully and wantonly:

              a. Failing to discipline and/or terminate JAMES JOHNSON JR.’s
                 employment when KBP FOODS, LLC, through its agents and
                 employees, witnessed JAMES JOHNSON JR., make inappropriate
                 advances and comments towards JASMINE BUDZYN when JAMES
                 JOHNSON JR. called the Plaintiff “a spicy taco”.

              b. Failing to discipline and/or terminate JAMES JOHNSON JR.’s
                 employment when KBP FOODS, LLC, through its agents and
                 employees, witnessed JAMES JOHNSON JR., make inappropriate
                 advances and comments towards JASMINE BUDZYN when JAMES
                 JOHNSON JR. got on KFC’s intercom system and told the Plaintiff he
                 was going to “bend you over and spank you”.

              c. Failing to terminate JAMES JOHNSON JR.’s employment when KBP
                 FOODS, LLC, through their agent, employee, and manager, TIFFANY
                 OLLIE, knew or should have known of JAMES JOHNSON JR.’s
                 conduct, as JASMINE BUDZYN reported each act of harassment and
                 sexual harassment to TIFFANY OLLIE, but TIFFANY OLLIE
                 consciously disregarded the Plaintiff’s complaints and continued to
                 schedule and permit JAMES JOHNSON JR to work with JASMINE
                 BUDZYN.

              d. Failing to terminate JAMES JOHNSON JR.’s employment when KBP
                 FOODS, LLC, through their agent, employee, and manager, TIFFANY
                 OLLIE, knew or should have known of JAMES JOHNSON JR.’s
                 conduct, as JASMINE BUDZYN reported to TIFFANY OLLIE that
                 JAMES JOHNSON JR. was continuously and inappropriately touching
                 the Plaintiff’s breasts without her consent, but TIFFANY OLLIE
                 consciously disregarded the Plaintiff’s complaints and continued to
                 schedule and permit JAMES JOHNSON JR to work with JASMINE
                 BUDZYN.

              e. Failing to terminate JAMES JOHNSON JR.’s employment when KBP
                 FOODS, LLC, through their agent, employee, and manager, TIFFANY
                 OLLIE, knew or should have known of JAMES JOHNSON JR.’s
                 conduct, as JASMINE BUDZYN reported to TIFFANY OLLIE that
                 JAMES JOHNSON JR. was continuously and inappropriately pulling
                 her hair without her consent, but TIFFANY OLLIE consciously
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                  disregarded the Plaintiff’s complaints and continued to schedule and
                  permit JAMES JOHNSON JR. to work with JASMINE BUDZYN.

               f. Failing to terminate JAMES JOHNSON JR.’s employment when KBP
                  FOODS, LLC, through their agent, employee, and manager, TIFFANY
                  OLLIE, knew or should have known of JAMES JOHNSON JR.’s
                  conduct, as JASMINE BUDZYN reported to TIFFANY OLLIE that
                  JAMES JOHNSON JR. had continuously and inappropriately attempted
                  and succeeded at kissing the Plaintiff on the mouth without her consent,
                  but TIFFANY OLLIE consciously disregarded the Plaintiff’s complaints
                  and continued to schedule and permit JAMES JOHNSON JR. to work
                  with JASMINE BUDZYN.

               g. Made the conscious decision to not terminate JAMES JOHNSON JR.’s
                  employment when KBP FOODS, LLC, knew or should have known of
                  JAMES JOHNSON JR.’s conduct and continued to schedule and permit
                  JAMES JOHNSON JR. to work with JASMINE BUDZYN.

               h. Failing to discipline JAMES JOHNSON JR. when KBP FOODS, LLC,
                  knew or should have known of his harassing conduct.

               i. Made the conscious decision to not launch a proper investigation and/or
                  inquiry of the management and JAMES JOHNSON JR.’s conduct after
                  JASMINE BUDZYN complained about the assaults, batteries, and
                  sexual harassment on numerous occasions.

               j. Knowingly failed to warn and/or otherwise protect the Plaintiff from the
                  lack of management in retaining and transferring JAMES JOHNSON JR.
                  as the Defendants knew of JAMES JOHNSON JR.’s sexually deviant
                  past at the Joliet KFC.

               k. Knowingly allowed JAMES JOHNSON JR. to work alongside the
                  Plaintiff, JASMINE BUDZYN, despite the Defendant’s knowledge of
                  JAMES JOHNSON JR.’s sexually deviant past at the Joliet KFC.

       48.     As a direct and proximate result of Defendant’s breaches and conscious disregard

for the safety of the Plaintiff, as set forth above, JASMINE BUDZYN suffered physical injuries,

great mental anguish, embarrassment, emotional distress, depression and pecuniary losses. The

Plaintiff demands a trial by jury.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against Defendant, KBP FOODS, LLC, for a sum in excess of $75,000.00
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as compensatory damages, punitive damages, and award JASMINE BUDZYN her reasonable

attorneys’ fees and all costs of this action.

                                  COUNT XIII
               ILLINOIS GENDER VIOLENCE ACT 740 ILCS 82/1 ET. SEQ
                             JAMES JOHNSON JR.

        1-74. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-24 of the

parties, 25-28 of the Jurisdiction, and paragraphs 29-73 of the actual allegations.

        75.     During the course of JASMINE BUDZYN’s employment with the Defendants, the

Defendant, JAMES JOHNSON JR., threatened to commit one or more acts of violence and/or

physical aggression towards her because she was female, and JAMES JOHNSON JR. did, in fact,

commit multiple acts of violence and physical aggression towards her because she was female.

        76.     These threats of acts of violence and/or physical aggression constituted an assault

under Illinois law and the physical acts constituted batteries under Illinois Law.

        77.     Said threats of acts of violence and/or physical aggression constituted a physical

intrusion or physical invasion of a sexual nature under coercive conditions, which if carried out,

would satisfy the elements of battery under Illinois law.

        78.     As a direct and proximate cause of the unlawful conduct alleged herein, the

Plaintiff, JASMINE BUDZYN, has suffered pecuniary losses, emotional distress, pain, suffering,

inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

        79.     The Plaintiff demands a trial by jury.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against Defendant, JAMES JOHNSON JR., for a sum in excess of

$75,000.00 for compensatory damages, punitive damages, and award JASMINE BUDZYN her

reasonable attorneys’ fees and all costs of this action.
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                                 COUNT XIV
                         ASSAULT AND BATTERY
  JAMES JOHNSON JR., individually and in his capacity as an employee, agent, and/or
                manager of KFC CORPORATION and KFC

       1-45. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-6, 11-14,

and 19-22 of the parties; 25-28 of the Jurisdiction; and paragraphs 29, 32, 35-36, 39, 42, 45-48,

51-55, 58-60, 63-65, 68-73 of the actual allegations.

       46.     Immediately prior to and subsequent to the sexual misconduct, the Defendant,

JAMES JOHNSON JR., in the course of his employment for KFC CORPORATION and KFC,

threatened the Plaintiff, JASMINE BUDZYN, with bodily harm.

       47.     The Defendant, JAMES JOHNSON JR., intended to cause JASMINE BUDZYN

imminent apprehension of a harmful or offensive act.

       48.     The Defendant, JAMES JOHNSON JR.’s, conduct caused JASMINE BUDZYN

apprehension of an imminent, harmful, offensive and/or harassing contact.

       49.     The acts of the Defendant, JAMES JOHNSON JR., in the scope and course of his

employment for KFC CORPORATION and KFC, by threatening her and then touching her

breasts, touching her body and digitally penetrating her vagina, constituted assault and battery

upon JASMINE BUDZYN. The Defendant, JAMES JOHNSON JR., caused JASMINE BUDZYN

reasonable apprehension of an imminent and offensive contact with JASMINE BUDZYN's person

and willfully touched JASMINE BUDZYN's breast, her body and digitally penetrated her vagina

without JASMINE BUDZYN's consent with the hostile intent to harm JASMINE BUDZYN.

       50.     During the course of the sexual assaults and batteries as described above, the

Defendant, JAMES JOHNSON JR., intentionally and maliciously threatened JASMINE

BUDZYN with great bodily harm, causing her to be in fear, and further inflicted injury on her
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through intentional, malicious, unjustified, harmful, and offensive sexual contact without

JASMINE BUDZYN's consent.

       51.     As a direct and proximate result of the Defendant, JAMES JOHNSON JR.'s,

wrongful actions and sexual assaults and batteries as described above, JASMINE BUDZYN

suffered permanent, severe, and continuing injuries including, but not limited to, academic and

employment impairments, depression, low self-esteem and confidence, physical and psychological

trauma, pain, and suffering, severe mental anguish, loss of capacity for enjoyment of life,

emotional distress, inability to function and other psychological problems.

       52.     As further direct and proximate result of the Defendant, JAMES JOHNSON JR.'s,

wrongful actions and sexual assaults and batteries, JASMINE BUDZYN has incurred, and will

continue to incur expenses for hospitalization, medical care and treatment, psychological therapy,

psychiatric therapy, and medication.

       53.     The conduct of the Defendant, JAMES JOHNSON JR., as described above, was

intentional, reckless, grossly negligent, willful, wanton, oppressive, and done with actual malice

and disregard for JASMINE BUDZYN’s rights and safety.

       54.    At all times material to this cause of action, the Defendant, JAMES JOHNSON JR.,

was an employee of the Defendants, KFC CORPORATION and KFC, and was at all such times

acting within the full course, scope, and authority of the Defendants, KFC CORPORATION and

KFC, therefore imputing liability for the Defendant, JAMES JOHNSON JR.'s tortious acts and

resulting damages as outlined above under the principles of respondent superior. The tortious

conduct committed by the Defendant, JAMES JOHNSON, JR., was outrageous and oppressive,

and characterized by malice or wantonness, justifying the imposition of punitive damages.
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       WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendants, JAMES JOHNSON JR., individually and as duly

authorized agent and employee of KFC CORPORATION and KFC, for a sum in excess of

$75,000.00 for compensatory damages, punitive damages and award JASMINE BUDZYN her

reasonable attorneys’ fees and all costs of this action.

                                 COUNT XV
                         ASSAULT AND BATTERY
  JAMES JOHNSON JR., individually and in his capacity as an employee, agent, and/or
                       manager of KBP FOODS, LLC

       1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2, 9-10,

17-21, 24 of the parties; 25-28 of the Jurisdiction; and paragraphs 31, 34-35, 38, 41, 44-47, 50-54,

57-59, 62-64, 67-73 of the actual allegations.

       42.     Immediately prior to and subsequent to the sexual misconduct, the Defendant,

JAMES JOHNSON JR., in the scope and course of his employment for KBP FOODS, LLC,

threatened Plaintiff, JASMINE BUDZYN, with bodily harm.

       43.     The Defendant, JAMES JOHNSON JR., in the scope and course of his employment

for KBP FOODS, LLC, intended to cause JASMINE BUDZYN imminent apprehension of a

harmful or offensive act.

       44.     The Defendant, JAMES JOHNSON JR.’s, conduct caused JASMINE BUDZYN

apprehension of an imminent, harmful, offensive and/or harassing contact.

       45.     The acts of the Defendant, JAMES JOHNSON JR., by threatening her and then

touching her breasts, touching her body and digitally penetrating her vagina, constituted assault

and battery upon JASMINE BUDZYN. The Defendant, JAMES JOHNSON JR., caused

JASMINE BUDZYN reasonable apprehension of an imminent and offensive contact with

JASMINE BUDZYN’s person and willfully touched JASMINE BUDZYN’s breast, her body and
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digitally penetrated her vagina without JASMINE BUDZYN’s consent with the hostile intent to

harm JASMINE BUDZYN.

       46.     During the course of the sexual assaults and batteries as described above, the

Defendant, JAMES JOHNSON JR., intentionally and maliciously threatened JASMINE

BUDZYN with great bodily harm, causing her to be in fear, and further inflicted injury on her

through intentional, malicious, unjustified, harmful, and offensive sexual contact without

JASMINE BUDZYN’s consent.

       47.     As a direct and proximate result of the Defendant, JAMES JOHNSON JR.’s,

wrongful actions and sexual assaults and batteries as described above, JASMINE BUDZYN

suffered permanent, severe, and continuing injuries including, but not limited to, academic and

employment impairments, depression, low self-esteem and confidence, physical and psychological

trauma, pain, and suffering, severe mental anguish, loss of capacity for enjoyment of life,

emotional distress, inability to function and other psychological problems.

       48.     As further direct and proximate result of the Defendant, JAMES JOHNSON JR.’s,

wrongful actions and sexual assaults and batteries, JASMINE BUDZYN has incurred, and will

continue to incur expenses for hospitalization, medical care and treatment, psychological therapy,

psychiatric therapy, and medication.

       49.     The conduct of the Defendant, JAMES JOHNSON JR., as described above, was

intentional, reckless, grossly negligent, willful, wanton, oppressive, and done with actual malice

and disregard for JASMINE BUDZYN’s rights and safety.

       50.    At all times material to this cause of action, the Defendant, JAMES JOHNSON JR.,

was an employee of the Defendant, KBP FOODS, LLC, and was at all such times acting within

the full course, scope, and authority of the Defendant, KBP FOODS, LLC, therefore imputing
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liability for the Defendant, JAMES JOHNSON JR.’s tortious acts and resulting damages as

outlined above under the principles of respondent superior. The tortious conduct committed by

the Defendant, JAMES JOHNSON, JR., was outrageous and oppressive, and characterized by

malice or wantonness, justifying the imposition of punitive damages.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendants, JAMES JOHNSON JR., individually and as duly

authorized agent and employee of KBP FOODS, LLC, for a sum in excess of $75,000.00 for

compensatory damages, punitive damages and award JASMINE BUDZYN her reasonable

attorneys’ fees and all costs of this action.

                                 COUNT XVI
          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
  JAMES JOHNSON JR., individually and in his capacity as an employee, agent, and/or
                manager of KFC CORPORATION and KFC

        1-45. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-6, 11-14,

and 19-22 of the parties; 25-28 of the Jurisdiction; and paragraphs 29, 32, 35-36, 39, 42, 45-48,

51-55, 58-60, 63-65, 68-73 of the actual allegations.

        46.     The conduct which the Defendant, JAMES JOHNSON JR., engaged in was

extreme and outrageous.

        47.     The Defendant intended that his conduct would inflict severe emotional distress or

knew that there was a high probability that his conduct would cause severe emotional distress.

        48.     As a direct and proximate result of the Defendant’s intentional conduct, JASMINE

BUDZYN suffered emotional distress.

        49.     At all times while performing these intentional and harassing acts, the Defendant,

JAMES JOHNSON JR., was in the scope and course of his employment with the Defendants, KFC

CORPORATION and KFC.
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        50.     As a direct and proximate cause of the unlawful conduct alleged herein, JASMINE

BUDZYN has suffered pecuniary losses, physical injuries, emotional distress, pain, suffering,

inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendants, KFC CORPORATION and KFC, for a sum in

excess of $75,000.00 for compensatory damages, and award JASMINE BUDZYN her reasonable

attorneys’ fees and all costs of this action.

                                COUNT XVII
          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
  JAMES JOHNSON JR., individually and in his capacity as an employee, agent, and/or
                       manager of KBP FOODS, LLC

        1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2, 9-10,

17-21, 24 of the parties; 25-28 of the Jurisdiction; and paragraphs 31, 34-35, 38, 41, 44-47, 50-54,

57-59, 62-64, 67-73 of the actual allegations.

        42.     The conduct which the Defendant, JAMES JOHNSON JR., engaged in was

extreme and outrageous.

        43.     Defendant intended that his conduct would inflict severe emotional distress or knew

that there was a high probability that his conduct would cause severe emotional distress.

        44.     As a direct and proximate result of the Defendant’s intentional conduct, JASMINE

BUDZYN suffered emotional distress.

        45.     At all times while performing these intentional and harassing acts, the Defendant,

JAMES JOHNSON JR., was in the scope and course of his employment with the Defendant, KBP

FOODS, LLC.
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        46.     As a direct and proximate cause of the unlawful conduct alleged herein, JASMINE

BUDZYN has suffered pecuniary losses, physical injuries, emotional distress, pain, suffering,

inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

        WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendant, KBP FOODS, LLC, for a sum in excess of

$75,000.00 for compensatory damages, and award JASMINE BUDZYN her reasonable attorneys’

fees and all costs of this action.


                                COUNT XVIII
                          FALSE IMPRISONMENT
  JAMES JOHNSON JR., individually and in his capacity as an employee, agent, and/or
                manager of KFC CORPORATION and KFC

        1-45. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-6, 11-14,

and 19-22 of the parties; 25-28 of the Jurisdiction; and paragraphs 29, 32, 35-36, 39, 42, 45-48,

51-55, 58-60, 63-65, 68-73 of the actual allegations.

        46.     The acts of the Defendant, JAMES JOHNSON JR., as described above constituted

false imprisonment of JASMINE BUDZYN.

        47.     In pushing the Plaintiff, JASMINE BUDZYN towards the men's restroom wherein

she was assaulted and battered, in locking the door of the aforementioned room, in forcibly

touching JASMINE BUDZYN, in verbally and physically coercing and intimidating JASMINE

BUDZYN, and in failing to heed to JASMINE BUDZYN's verbal and physical protests, the

Defendant, JAMES JOHNSON JR., confined JASMINE BUDZYN to the men's restroom, on the

Defendants’, KFC CORPORATION and KFC, premises, and intended to do the same, thereby

unlawfully depriving JASMINE BUDZYN of her personal liberty of freedom and movement.
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       48.     JASMINE BUDZYN was conscious of her confinement and restriction in the men’s

bathroom.

       49.     In verbally and physically resisting the Defendant, JAMES JOHNSON JR.'s,

actions, as described above, JASMINE BUDZYN clearly showed that she did not consent to

JAMES JOHNSON JR.'s confinement of her to the men's restroom.

       50.     The Defendant, JAMES JOHNSON JR., knew or should have known that the

conduct engaged in would result in the false imprisonment of JASMINE BUDZYN.

       51.      At all times while performing these intentional acts, the Defendant, JAMES

JOHNSON JR., was in the scope and course of his employment with the Defendants, KFC

CORPORATION and KFC.

       52.     As a result of the false imprisonment, the Defendant, JAMES JOHNSON JR., was

afforded the opportunity to commit assaults and batteries set forth above, which resulted in

substantial physical and severe emotional and mental suffering including, but not limited to,

academic and employment impairments, depression, low self-esteem and confidence, physical and

psychological trauma, pain, and suffering, severe mental anguish, loss of capacity for enjoyment

of life, emotional distress, and other psychological injuries.

       53.     As further direct and proximate result of the Defendant, JAMES JOHNSON JR.'s,

wrongful actions and sexual assault and battery, JASMINE BUDZYN has incurred, and will

continue to incur expenses for hospitalization, medical care and treatment, psychological therapy,

psychiatric therapy, and medication, all to JASMINE BUDZYN's further damage.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendants, KFC CORPORATION and KFC, for a sum in
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excess of $75,000.00 for compensatory damages, punitive damages and award JASMINE

BUDZYN her reasonable attorneys’ fees and all costs of this action.

                                 COUNT XIX
                          FALSE IMPRISONMENT
  JAMES JOHNSON JR., individually and in his capacity as an employee, agent, and/or
                       manager of KBP FOODS, LLC

       1-41. The Plaintiff, JASMINE BUDZYN, repeats and re-alleges paragraphs 1-2, 9-10,

17-21, 24 of the parties; 25-28 of the Jurisdiction; and paragraphs 31, 34-35, 38, 41, 44-47, 50-54,

57-59, 62-64, 67-73 of the actual allegations.

       42.      The acts of the Defendant, JAMES JOHNSON JR., as described above constituted

false imprisonment of JASMINE BUDZYN.

       43.      In pushing the Plaintiff, JASMINE BUDZYN towards the men's restroom wherein

she was assaulted and battered, in locking the door of the aforementioned room, in forcibly

touching JASMINE BUDZYN, in verbally and physically coercing and intimidating JASMINE

BUDZYN, and in failing to heed to JASMINE BUDZYN's verbal and physical protests, the

Defendant, JAMES JOHNSON JR., confined JASMINE BUDZYN to the men's restroom, on the

Defendant’s, KBP FOODS, LLC, premises, and intended to do the same, thereby unlawfully

depriving JASMINE BUDZYN of her personal liberty of freedom and movement.

       44.     JASMINE BUDZYN was conscious of her confinement and restriction in the men’s

bathroom.

       45.     In verbally and physically resisting the Defendant, JAMES JOHNSON JR.'s,

actions, as described above, JASMINE BUDZYN clearly showed that she did not consent to

JAMES JOHNSON JR.'s confinement of her to the men's restroom.

       46.     The Defendant, JAMES JOHNSON JR., knew or should have known that the

conduct engaged in would result in the false imprisonment of JASMINE BUDZYN.
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       47.      At all times while performing these intentional acts, the Defendant, JAMES

JOHNSON JR., was in the scope and course of his employment with the Defendant, KBP FOODS,

LLC.

       48.     As a result of the false imprisonment, the Defendant, JAMES JOHNSON JR., was

afforded the opportunity to commit assaults and batteries set forth above, which resulted in

substantial physical and severe emotional and mental suffering including, but not limited to,

academic and employment impairments, depression, low self-esteem and confidence, physical and

psychological trauma, pain, and suffering, severe mental anguish, loss of capacity for enjoyment

of life, emotional distress, and other psychological injuries.

       49.     As further direct and proximate result of the Defendant, JAMES JOHNSON JR.'s,

wrongful actions and sexual assault and battery, JASMINE BUDZYN has incurred, and will

continue to incur expenses for hospitalization, medical care and treatment, psychological therapy,

psychiatric therapy, and medication, all to JASMINE BUDZYN's further damage.

       WHEREFORE, the Plaintiff, JASMINE BUDZYN, respectfully prays that this Honorable

Court enter a judgment against the Defendant, KBP FOODS, LLC, for a sum in excess of

$75,000.00 for compensatory damages, punitive damages and award JASMINE BUDZYN her

reasonable attorneys’ fees and all costs of this action.
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                                            Respectfully submitted,

                                            LEVIN, RIBACK & ADELMAN, P.C.

                                  By:       /s/ Richard I. Levin, Esq.
                                            Attorney for the Plaintiff, JASMINE BUDZYN,


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